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10                          UNITED STATES DISTRICT COURT

11                         CENTRAL DISTRICT OF CALIFORNIA

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     NIKE, INC.,                                     Case No. 2:20-cv-09431 MCS (PVCx)
13
                        Plaintiff,                   CONSENT JUDGMENT AND
14
                                                     PERMANENT INJUNCTION
15         v.
16 WARREN LOTAS
17         and
18
     WARREN LOTAS, LLC,
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                        Defendants.
20
21         The Court, being advised that the parties stipulate and agree to the entry of a final
22 and enforceable judgment on the terms set forth herein, enters this Order as a final and
23 enforceable judgment in this matter.
24         IT IS HEREBY ORDERED that judgment is entered that Plaintiff is the
25 exclusive owner of the following registered trademarks and all related common law
26 rights: U.S. Trademark Registration Nos. 977,190; 978,952; 1,214,930; 1,277,066;
27 1,284,385; 1,323,342; 1,323,343; 1,945,654; 1,990,180; 3,711,303; 3,711,305;
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                 CONSENT JUDGMENT AND PERMANENT INJUNCTION
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 1
           (a)   manufacturing,      transporting,   promoting,    importing,    advertising,
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     publicizing, distributing, offering for sale, or selling any products (including but not
 3
     limited to the Infringing Products) under the Asserted Marks or any other marks,
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     names, symbols, or logos which are likely to cause confusion or to cause mistake or
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     to deceive persons into the erroneous belief that any products that Defendants caused
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     to enter the stream of commerce or any of Defendants’ commercial activities are
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     sponsored or licensed by Plaintiff, are authorized by Plaintiff, or are connected or
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     affiliated in some way with Plaintiff or the Asserted Marks;
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           (b)   manufacturing,      transporting,   promoting,    importing,    advertising,
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     publicizing, distributing, offering for sale, or selling any products (including but not
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     limited to the Infringing Products) under the Asserted Marks and/or confusingly
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     similar marks;
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           (c)   implying Plaintiff’s approval, endorsement, or sponsorship of, or
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     affiliation or connection with, Defendants’ products, services, or commercial
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     activities, passing off Defendants’ business as that of Plaintiff, or engaging in any act
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     or series of acts which, either alone or in combination, constitutes unfair methods of
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     competition with Plaintiff and from otherwise interfering with or injuring the Asserted
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     Marks or the goodwill associated therewith;
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           (d)   engaging in any act which is likely to dilute the distinctive quality of the
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     Asserted Marks and/or injures Plaintiff’s business reputation;
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           (e)   representing or implying that Defendants are in any way sponsored by,
22
     affiliated with, or licensed by Plaintiff; and/or
23
           (f)   knowingly assisting, inducing, aiding, or abetting any other person or
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     business entity in engaging in or performing any of the activities prohibited in (a)
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     through (e) above;
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                 CONSENT JUDGMENT AND PERMANENT INJUNCTION
Case 2:20-cv-09431-MCS-PVC Document 64 Filed 12/14/20 Page 8 of 8 Page ID #:696



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           IT IS FURTHER ORDERED that this Court shall retain jurisdiction over the
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     parties to the extent necessary to enforce the terms of this Order and the injunctive
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     relief provided herein;
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           IT IS FURTHER ORDERED that this Order terminates all proceedings in
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     this action and all future dates are stricken.
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           IT IS SO ORDERED.
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           SIGNED AND ENTERED this 14th day of December, 2020.
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13                                           Hon. Mark C. Scarsi
14                                           United States District Judge

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                CONSENT JUDGMENT AND PERMANENT INJUNCTION
